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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                            :           CHAPTER 7
                                                  :
DIVYANG GOSWAMI,                                  :           CASE NO. 20-66432-PWB
                                                  :
         Debtor.                                  :
                                                  :
                                                  :
S. GREGORY HAYS, Chapter 7 Trustee                :
for the Estate of Divyang Goswami,                :
                                                  :
                                                  :
         Plaintiff,                               :
                                                  :
vs.                                               :           Adv. Pro. No.
                                                  :
NEENA D. GOSWAMI,                                 :
                                                  :
         Defendant.                               :
                                                  :

                                           COMPLAINT

         COMES NOW S. Gregory Hays, as Chapter 7 Trustee (the “Plaintiff” or “Trustee”) for

the bankruptcy estate (the “Bankruptcy Estate”) of Divyang Goswami (“Debtor”), by and

through undersigned counsel, and files this Complaint against Neena D. Goswami (“Defendant” or

“Ms. Goswami”), respectfully showing the Court as follows:

                                      Jurisdiction and Venue

             1.   This Court has jurisdiction over this adversary proceeding under 28 U.S.C. §§ 157

and 1334.

             2.   This adversary proceeding is a core proceeding under 28 U.S.C. §§ 157(b)(2).

             3.   This adversary proceeding is initiated under Rules 7001(1) and (3) of the Federal

Rules of Bankruptcy Procedure and 11 U.S.C. §§ 544, 550, and 551.




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        4.     Venue is proper in this Court under 28 U.S.C. §§ 1408 and 1409(a) because this

adversary proceeding arises in and relates to the Chapter 7 bankruptcy case of Divyang Goswami,

Case No. 20-66432-PWB (the “Bankruptcy Case”) pending in the United States Bankruptcy Court

for the Northern District of Georgia, Atlanta Division (the “Bankruptcy Court”).

        5.     Plaintiff consents to the entry of final orders or judgment by the Bankruptcy Court

pursuant to Bankruptcy Rule 7008 of the Federal Rules of Bankruptcy Procedure.

        6.     Defendant is subject to the jurisdiction of this Court.

                                        Statement of Facts

                                      a. General Background

        7.     Debtor filed a voluntary petition under Chapter 7 of Title 11 of the United States

Code (the “Bankruptcy Code”) on May 17, 2020 (the “Petition Date”) and initiated the

Bankruptcy Case.

        8.     Plaintiff was appointed to the Bankruptcy Case as the interim Chapter 7 Trustee

on the Petition Date under 11 U.S.C. § 701(a)(1).

        9.     At the conclusion of the meeting of creditors, which was conducted in accordance

with 11 U.S.C. § 341(a) on June 22, 2020, Plaintiff became the permanent Chapter 7 Trustee

under 11 U.S.C. § 702(d). The duties of Plaintiff include an obligation to “collect and reduce to

money the property of the [Bankruptcy E]state. . . .” 11 U.S.C. § 704(a)(1) (2020).

                   b. The Property, the Transfers and the Condemnation Action

        10.    On or about January 7, 2011, the Federal Deposit Insurance Corporation, as

Receiver for AmTrust Bank transferred that certain real property and improvements known

generally as 3220 Westbrook Road, Suwanee, Gwinnett County, Georgia 30024 (the

“Property”) to Debtor. The deed through which the transfer to Debtor was accomplished was




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recorded on the real property records of Gwinnett County, Georgia (the “Real Estate Records”)

on or about January 18, 2011 at Page 241 of Deed Book 50494.

        11.   On or around May 22, 2014, Debtor transferred the Property to Defendant via a

Warranty Deed (the “Warranty Deed”) (the “First Transfer”).

        12.   The Warranty Deed was recorded on the Real Estate Records on May 28, 2014

(the “Second Transfer”, and together with the First Transfer, the “Transfers”) beginning at

Page 376 of Deed Book 52938.

        13.   A true and correct copy of the Warranty Deed, along with any riders, is attached

hereto and incorporated herein by reference as Exhibit “A.”

        14.   Upon information and belief, Defendant paid no value to Debtor for the Transfers,

and Debtor received no consideration for the Transfers.

        15.   Upon information and belief, at the time of the Transfers, the Property was

unencumbered.

        16.   On June 25, 2015, Gwinnett County, Georgia (the “Condemnor”) filed a

condemnation petition in the Superior Court of Gwinnett County initiating Civil Action File No.

15-A-06859-2 against Defendant and the Property (the “Condemnation Action”). On May 6,

2016, the Superior Court of Gwinnett County entered the Consent Final Order (the “Consent

Final Order”) ordering that the Condemnor pay Defendant $140,000.00 in exchange for its

acquisition of the Property. The Consent Final Order was filed on the Real Estate Records on

May 6, 2016 beginning at Page 424 of Deed Book 54885.

        17.   A true and correct copy of the Consent Final Order is attached hereto and

incorporated herein by reference as Exhibit “B.”




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        18.    During the course of this adversary proceeding, Trustee may learn (through

discovery or otherwise) of additional transfers made to Defendant during the four years prior to

the Petition Date or after the Petition Date, or during any applicable period under the Bankruptcy

Code or other applicable law. It is Trustee’s intention to avoid and recover, under federal and

state law, all transfers of any interest of Debtor in property made to or for the benefit of

Defendant or any other transferee, including but not limited to preferential, fraudulent, and

unauthorized post-petition transfers. Trustee reserves the right to amend this Complaint to

include: (i) further information regarding the Transfers, (ii) additional transfers, (iii)

modifications of and/or revision to Defendant’s name, and/or (iv) additional defendants that may

become known to Trustee at any time during this adversary proceeding, through formal

discovery or otherwise, and for all such amendments to relate back to the date of filing of this

original Complaint.

                                              Count I:

                                 Avoidance of Transfers
    Under 28 U.S.C. §§ 3304(b) and 3306, or Other Applicable Law, and 11 U.S.C. § 544

        19.    Plaintiff hereby realleges the allegations of paragraphs 1 through 18 above as

though fully set forth herein.

        20.    As of the Petition Date, Debtor scheduled his total unsecured debts in the amount

of $710,975.00. [Doc. No. 1 at Page 30 of 64]. Debtor did not schedule any secured claims.

        21.    As of the Petition Date, Debtor scheduled his assets as having a total value of

$262,900.00. [Doc. No. 1 at Page 19 of 64].

        22.    Upon information and belief, Debtor’s financial condition did not materially

change from the date of the Transfers to the Petition Date.




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          23.    On his Schedules, Debtor listed the U.S. Small Business Administration (“SBA”)

as having a claim in the amount of $420,756.00. [Doc. No. 1 at p. 28 of 64].

          24.    The SBA filed Proof of Claim No. 2-1 on October 5, 2020 in the amount of

$786,994.91. The SBA Proof of Claim attached a Personal Guaranty executed by the Debtor and

dated May 31, 2013 to guarantee a loan in the amount of $2,134,000.00. [Claim No. 2-1 at p. 7

of 11].

          25.    The Transfers were transfers of an interest of Debtor in property.

          26.    The Transfers made by Debtor during the period leading up to the Petition Date

are voidable transfers under applicable law.

          27.    Because the trustee is able to stand in the shoes of the SBA and assert fraudulent

transfer claims, he may apply the six-year reach-back period under 28 U.S.C. § 3306(b).

          28.    At the time of the Transfers, Debtor had creditors, including the SBA, which

creditors had not and still have not been paid in full for their debts.

          29.    At the time of the Transfers, the Debtor was insolvent, or the Transfers rendered

him insolvent.

          30.    The Debtor made the Transfers with the actual intent to hinder, delay, or defraud

her creditors, as evidenced by the following “badges of fraud:” (a) Debtor received no monetary

consideration or value in exchange for the Transfers; (b) the Transfers were to or for the benefit

of an insider, Debtor’s wife; (c) prior to and at the time of the Transfers, the Debtor had

substantial debts which remain unpaid; and (d) Debtor was insolvent or rendered insolvent as a

result of the Transfers.

          31.    Trustee is entitled to avoid the Transfers under 28 U.S.C. § 3304(b), or other

applicable law, and 11 U.S.C. § 544(b).




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                                              COUNT II:

                                 Avoidance of Transfers
    Under 28 U.S.C. §§ 3304(a) and 3306, or Other Applicable Law, and 11 U.S.C. § 544;
                                    Alternative Count

          32.   Plaintiff hereby realleges the allegations of paragraphs 1 through 18 above as

though fully set forth herein.

          33.   As of the Petition Date, Debtor scheduled his total unsecured debts in the amount

of $710,975.00. [Doc. No. 1 at Page 30 of 64]. Debtor did not schedule any secured claims.

          34.   As of the Petition Date, Debtor scheduled his assets as having a total value of

$262,900.00. [Doc. No. 1 at Page 19 of 64].

          35.   Upon information and belief, Debtor’s financial condition did not materially

change from the date of the Transfers to the Petition Date.

          36.   On his Schedules, Debtor listed the U.S. Small Business Administration (“SBA”)

as having a claim in the amount of $420,756.00. [Doc. No. 1 at p. 28 of 64].

          37.   The SBA filed Proof of Claim No. 2-1 on October 5, 2020 in the amount of

$786,994.91. The SBA Proof of Claim attached a Personal Guaranty executed by the Debtor and

dated May 31, 2013 to guarantee a loan in the amount of $2,134,000.00. [Claim No. 2-1 at p. 7

of 11].

          38.   The Transfers constituted transfers of an interest of the Debtor in property.

          39.   The Transfers were made within six (6) years of the Petition Date.

          40.   Because the trustee is able to stand in the shoes of the SBA and assert fraudulent

transfer claims, he may apply the six-year reach-back periods under 28 U.S.C. § 3306(b).

          41.   At the time of the Transfers, Debtor had creditors, including the SBA, which

creditors had not and still have not been paid in full for their debts.




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        42.      Debtor received less than reasonably equivalent value in exchange for the

Transfers.

        43.      At the time of the Transfers, the Debtor was insolvent, or the Transfers rendered

him insolvent.

        44.      Trustee is entitled to avoid the Transfers under 28 U.S.C. § 3304(a), or other

applicable law, and 11 U.S.C. § 544(b).

                                              Count III:

                                Recovery of the Avoided Transfers
                                     Under 11 U.S.C. § 550

        45.      Plaintiff realleges the allegations of paragraphs 1 through 43 above as though

fully set forth herein.

        46.      Defendant was the initial transferee of the Transfers and/or the person for whose

benefit the Transfers were made.

        47.      Pursuant to 11 U.S.C. § 550(a)(1), Plaintiff is entitled to recover for the Estate the

Property transferred through the Transfers, or the value of the avoided Transfers, from

Defendant.

                                              Count IV:

                              Preservation of the Avoided Transfers
                                     Under 11 U.S.C. § 551

        48.      Plaintiff realleges the allegations of paragraphs 1 through 46 above as though

fully set forth herein.

        49.      Once avoided, the Transfers are automatically preserved for the benefit of the

Estate, pursuant to 11 U.S.C. § 551.




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        WHEREFORE, Plaintiff prays that the Court enter a judgment in favor of Plaintiff and

against Defendant:

        a)     avoiding the Transfers under 28 U.S.C. §§ 3304(b) and 3306 and 11 U.S.C. §

               544(b), or other applicable law;

        b)     alternatively, avoiding the Transfers 28 U.S.C. §§ 3304(a) and 3306 and 11

               U.S.C. § 544(b), or other applicable law;

        c)     finding Defendant liable for the value of the Transfers pursuant to 11 U.S.C. § 550;

        d)     preserving the avoided Transfers for the benefit of the Estate, under 11 U.S.C. §

               551; and

        e)     granting any other relief the Court finds just and proper.

        Respectfully submitted this 16th day of May, 2022.

                                              ARNALL GOLDEN GREGORY, LLP
                                              Attorneys for Plaintiff

                                              By:/s/ Michael J. Bargar
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                             EXHIBIT “A” FOLLOWS




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                             EXHIBIT “B” FOLLOWS




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